      Case 4:21-cv-04147 Document 1 Filed on 12/22/21 in TXSD Page 1 of 6




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION


LAWRENCE SCOTT,                                )
an individual,                                 )
                                               )       Case No.: 4:21-cv-4147
       Plaintiff,                              )
v.                                             )
                                               )
FUQUA PARK ROW, LLC,                           )
a Texas Limited Liability Company,             )
                                               )
      Defendant.                               )
__________________________________             )

                                           COMPLAINT

       Plaintiff, LAWRENCE SCOTT, through his undersigned counsel, hereby files this

Complaint and sues FUQUA PARK ROW, LLC, a Texas Limited Liability Company, for

injunctive relief, attorneys’ fees and costs pursuant to 42 U.S.C. § 12181 et seq., (“AMERICANS

WITH DISABILITIES ACT” or “ADA”) and alleges:

                                JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. This Court has supplemental

jurisdiction over the subject matter of all other claims pursuant to 28 U.S.C. §1367(a).

       2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), because the

Defendant’s Property, which is the subject of this action, is located in Harris County, Texas.

       3.      Plaintiff, LAWRENCE SCOTT (hereinafter referred to as “MR. SCOTT” or

“Plaintiff”), is a resident of the State of Texas in Harris County.

       4.      MR. SCOTT is a qualified individual with a disability under the ADA. In 2002,
      Case 4:21-cv-04147 Document 1 Filed on 12/22/21 in TXSD Page 2 of 6




MR. SCOTT suffered a severe injury to his neck resulting in trauma to his C5 and C7 vertebrae.

MR. SCOTT is paralyzed from the waist down.

       5.      Due to his disability, Plaintiff is substantially impaired in several major life

activities, such as walking and standing, and requires a wheelchair for mobility.

       6.      Defendant, FUQUA PARK ROW, LLC, a Texas Limited Liability Company

(hereinafter referred to as “Defendant”), is registered to do business in the State of Texas. Upon

information and belief, Defendant is the owner, lessor and/or operator of the real property and

improvements which are the subject of this action, to wit: the “Property,” generally located at

11101 Fuqua St., Houston, TX 77089.

       7.      All events giving rise to this lawsuit occurred in the Southern District of Texas.

                                          COUNT I
                             (VIOLATION OF TITLE III OF THE ADA)

       8.      Plaintiff realleges and incorporates into this cause of action each and every

allegation contained in the previous paragraphs of this Complaint.

       9.      The Property, a shopping plaza, is open to the public and provides goods and

services to the public.

       10.     Plaintiff has visited the Property multiple times and attempted to utilize the goods

and services offered at the Property and plans to return to the Property in the near future.

       11.     During his most recent visit, MR. SCOTT experienced serious difficulty accessing

the goods and utilizing the services therein due to the architectural barriers discussed in this

Complaint. Moreover, but for the inaccessible condition of the Property, Plaintiff would like to

visit the Property more often.

       12.     Due to the barriers, Plaintiff has been unable to, and continues to be unable to, enjoy


                                                     2
       Case 4:21-cv-04147 Document 1 Filed on 12/22/21 in TXSD Page 3 of 6




full and equal access to good and services offered at the Property, owned, leased, and/or operated

by Defendant. Additionally, MR. SCOTT continues to desire to visit the Property, but fears that

he will again encounter serious difficulty and safety hazards due to the barriers discussed herein

which still exist.

        13.        Defendant has discriminated, and continues to discriminate, against Plaintiff in

violation of 42 U.S.C. § 12181 et seq. and 28 C.F.R. § 36.304 et seq. by excluding and/or denying

Plaintiff the benefits of the goods and services located on the Property by failing to provide and/or

correct the following barriers to access which Plaintiff personally observed, encountered, and

which hindered his access:

              A.       Plaintiff personally encountered inaccessible parking designated for disabled

                       use throughout the Property due to missing signage, low signage, excessive

                       long slopes in the designated parking spaces and access aisles and faded

                       markings. These conditions made it difficult for Plaintiff to identify the

                       designated disabled parking areas and made it more difficult to safely transfer

                       into and out of his wheelchair;

              B.       Plaintiff personally encountered inaccessible curb ramps due to uneven

                       pavement, excessive slopes, excessively sloped side flares, excessive lips and

                       pavement in disrepair. These conditions made it difficult and unsafe for

                       Plaintiff to maneuver over the ramps, as well as increased his risk of fall; and

              C.       Plaintiff personally encountered inaccessible outdoor seating at Marina

                       Seafood Kitchen. Specifically, the outdoor seating area does not contain

                       alternative seating to accommodate Plaintiff’s disability. Consequently, the



                                                         3
      Case 4:21-cv-04147 Document 1 Filed on 12/22/21 in TXSD Page 4 of 6




                    lack of alternative seating to these benches made it impossible for Plaintiff to

                    access and utilize the outdoor seating available to other patrons at Marina

                    Seafood Kitchen.

       14.     Upon information and belief, there are other current violations of the ADA and the

ADA Accessibility Guidelines (“ADAAG”) at the Property, and only after a full inspection is

performed by the Plaintiff or Plaintiff’s representatives can all said violations be identified.

       15.     To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.

       16.     Independent of his intent to return as a patron to the Property, Plaintiff additionally

intends to return to the Property as an ADA tester to determine whether the barriers to access stated

herein have been remedied.

       17.     Removal of the barriers to access located on the Property is readily achievable,

structurally feasible and easily accomplishable without placing an undue burden on Defendant.

       18.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       19.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendant.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against Defendant and requests the

following injunctive and declaratory relief:


                                                        4
Case 4:21-cv-04147 Document 1 Filed on 12/22/21 in TXSD Page 5 of 6




A.    That the Court declare that the Property owned, leased, and/or operated by

      Defendant is in violation of the ADA;

B.    That the Court enter an Order directing Defendant to alter its facilities to make

      them accessible to and useable by individuals with disabilities to the full

      extent required by Title III of the ADA;

C.    That the Court enter an Order directing Defendant to evaluate and neutralize

      its policies and procedures towards persons with disabilities for such

      reasonable time so as to allow Defendant to undertake and complete

      corrective procedures;

D.    That the Court award reasonable attorneys’ fees, costs (including expert fees),

      and other expenses of suit, to the Plaintiff; and

E.    That this Court award Plaintiff such other additional and proper relief as may

      be just and equitable.

                               By:   /s/ Brian T. Ku         .




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                                            5
Case 4:21-cv-04147 Document 1 Filed on 12/22/21 in TXSD Page 6 of 6




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